                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


 MATTHEW POWER,

                         Plaintiff,                       Civil Action No. 1:22-cv-10030-JGD
           v.

CONNECTWEB TECHNOLOGIES, INC.,
MICHAEL BEAULIEU, PAUL BEAULIEU,
RUBBER STAMP CHAMP, INC., ANCHOR
RUBBER STAMP & PRINTING CO., INC.,
THE J.P. COOKE COMPANY, and
GOOGLE LLC,

                         Defendants.


CONNECTWEB AND RUBBER STAMP CHAMP’S MOTION FOR FURTHER ORDER
             REGARDING PLAINTIFF’S HARASSMENT;
                NOTICE OF CONTEMPT OF COURT

       Defendants Connectweb Technologies, Inc. (“Connectweb”), Michael Beaulieu, Paul

Beaulieu, and Rubber Stamp Champ, Inc. (“Rubber Stamp Champ”) (collectively, the

“Movants”) hereby notify the Court that Plaintiff Matthew Power has violated this Court’s

November 18, 2022 Order by continuing to send harassing emails. Accordingly, Movants

submit this Motion for an Order (1) explaining that emailing Movants’ counsel is exactly the sort

of conduct prohibited by the Order dated November 18, 2022 (Docket No. 76), specifically

prohibiting ANY contact with Movants and their counsel, including without limitation through

email, text message, phone call, postal mail, or in person; and (2) notifying Plaintiff that any

further violation of the Court’s November 18 Order, or the second order sought in this Motion,

may result in the imposition of sanctions (including but not limited to monetary sanctions) and

other measures deemed by the Court to be sufficient to secure compliance with its Orders.

       In support of this Motion, Movants state as follows:



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        1.     On November 9, 2022, Movants filed “Connectweb and Rubberstamp Champ’s

Emergency Motion for an Order that Plaintiff Stop His Harassment and Threats” (Docket No.

74) (the “Original Motion”). The Original Motion sought to stop Plaintiff from, inter alia,

sending threatening emails to defense counsel.

        2.     A hearing on the Original Motion was held before this Court on November 17,

2022.

        3.     Based on an agreement by the parties that was reached during the November 17

hearing, the Court issued an Order dated November 18, 2022 (Dkt No. 76), requiring in pertinent

part that “[w]hile this matter remains pending, any communications between the plaintiff and the

defendants or their counsel shall take place only through pleadings filed with the court.” ¶ 1.

        4.     Immediately following the issuance of the Order, Plaintiff proceeded to violate

the Order by sending two more emails to counsel for certain of the Movants.

        5.     Specifically, on November 18, 2022, the Plaintiff emailed Connectweb’s counsel

in violation of the November 18 Order, (a) threatening to subpoena defendants, their counsel, the

CIA, the FBI, and “and any other agency involved in this matter who is also a customer of the

clients, and also for character references and my involvement with them with (domestic) counter-

terrorism, and their execution of my friend overseas (the ISIS member);” (b) demanding the

names and addresses of all the clients of Connectweb for the last 10 years; and (c) threatening to

file civil suits against Connectweb’s counsel, the Town of Swampscott, and the Salem hospital

where Plaintiff was allegedly involuntarily admitted. Plaintiff’s November 18 email is attached

hereto as Exhibit A.

        6.     On November 21, 2022, Plaintiff again emailed Connectweb’s counsel in

violation of the Court’s November 18 Order (attached hereto as Exhibit B). Plaintiff’s




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November 21 email contained further threats and discussion of his efforts to obtain a firearms

permit.

          7.      Plaintiff’s harassing conduct has continued in contempt of the Court’s November

18 Order (Dkt No. 76) and is at risk of escalation absent timely action by the Court.

          WHEREFORE, for these reasons, Movants respectfully request that the Court enter a

further order enjoining this conduct as follows:

          1) Explaining that emailing Movants’ counsel is exactly the sort of conduct prohibited

               by the Order dated November 18, 2022 (Dkt No. 76), specifically prohibiting ANY

               contact with Movants and their counsel, including without limitation through email,

               text message, phone call, postal mail, or in person;

          2) Notifying Plaintiff that any further violation of the Court’s November 18 Order or the

               second order sought in this Motion may result in the imposition of sanctions

               (including but not limited to monetary sanctions) and other measures deemed by the

               Court to be sufficient to secure compliance with its Orders; and

          3) Providing other such relief as the Court deems appropriate.




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                                                          Respectfully submitted,

CONNECTWEB TECHNOLOGIES, INC.,                            RUBBER STAMP CHAMP, INC.
MICHAEL BEAULIEU, and PAUL
BEAULIEU                                                  By its attorneys,

By their attorney,                                        /s/ Stephen D. Riden
                                                          Stephen D. Riden (BBO No. 644451)
/s/ Kenneth R. L. Parker                                  Puneet Dhaliwal (BBO No. 709111)
Kenneth R. L. Parker (BBO No. 688987)                     Beck Reed Riden LLP
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Dated: November 22, 2022




                                CERTIFICATE OF SERVICE

       I hereby certify that this document has been filed through the CM/ECF system on

November 22, 2022, and will be served electronically to the registered participants as identified

on the Notice of Electronic Filing through the Court’s transmission facilities, and that non-

registered participants have been served this day by mail.1

                                                         /s/ Kenneth R. L. Parker




1
 In a November 21, 2022 phone conversation, Clerk Thomas Quinn confirmed that service by
mail is still required and is not prohibited by the Court’s November 18 Order.

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                           LOCAL RULE 7.1(a)(2) CERTIFICATE

       Pursuant to the November 18, 2022 Order (Dkt No. 76), the Court has waived Local Rule

7.1’s requirement that parties confer before filing a motion.

                                                         /s/ Kenneth R. L. Parker




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